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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Certain cases                                       )

                                 ORDER AND REASONS

         Before the Court is a Motion for Summary Judgment on the Claims of
Plaintiffs Whose Taxotere Treatment Started Before December 15, 2006 (Doc.
8977). The Court held oral argument on the Motion on May 7, 2020. For the
following reasons, the Motion is GRANTED IN PART and DEFERRED IN
PART.


                                      BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial was held in
September 2019, and the second is set for October 19, 2020.
         The instant Motion relates to nearly 1400 Plaintiffs who took Taxotere
before December 15, 2006. Defendants argue that Plaintiffs have no evidence
to show that Defendants had a duty to warn before this date. Defendants point


1   Docetaxel is the generic version of Taxotere.
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to evidence from Plaintiffs’ expert Dr. David Kessler, who testified that
Defendants’ duty to warn arose on December 15, 2006. Accordingly,
Defendants move for summary judgment against these select Plaintiffs.


                                 LEGAL STANDARD

         Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 Rule 56 of
the Federal Rules of Civil Procedure “mandates the entry of summary
judgment, after adequate time for discovery and upon motion, against a party
who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of
proof at trial.” 4 “If the evidence is merely colorable, or is not significantly
probative, summary judgment may be granted.” 5


                                LAW AND ANALYSIS

    I.   The Parties’ Arguments
         Defendants argue that the Plaintiffs at issue cannot create a genuine
dispute of material fact on an essential element of their claims. Specifically,
Defendants aver that the Plaintiffs have no evidence to show that at the time
of their treatment, Defendants had a duty to warn them of Taxotere’s risk of
permanent alopecia. Indeed, in connection with the first bellwether trial,


2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
5 Anderson, 477 U.S. at 249–50 (internal citations omitted).



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Plaintiffs’ regulatory and label expert, Dr. David Kessler, testified that the
Defendants’ duty was triggered on December 15, 2006. On that date, a doctor
by the name of Scot Sedlacek gave a presentation at a “major breast [cancer]
conference.” 6 Dr. Sedlacek discussed the link between Taxotere and permanent
chemotherapy-induced alopecia. 7
       In response, Plaintiffs ask the Court to disregard the testimony from Dr.
Kessler. Plaintiffs aver that his testimony was case specific and should not be
considered in connection with this Motion. Plaintiffs note that in his report,
Dr. Kessler specified that his opinions were tailored to three certain bellwether
Plaintiffs and their respective dates of Taxotere administration. He wrote that
he “reserve[d] the right to study the issues at both earlier and later dates.” 8 In
addition to this, Plaintiffs argue that there is an issue of fact regarding when
Sanofi acquired knowledge of the risk of permanent alopecia associated with
Taxotere. Plaintiffs argue that based on the evidence, Sanofi had knowledge
before December 15, 2006, thereby triggering a duty to warn before this date.
Lastly, Plaintiffs emphasize that dozens of state laws are at issue, and these
laws do not use one monolithic standard for “knowledge.” Because of this,
Plaintiffs argue that the Court would have to undertake a Herculean effort in
deciding whether summary judgment is appropriate in each jurisdiction.

II.    Authority of MDL Courts
       An MDL court has the authority to enter dispositive orders terminating
cases transferred under 28 U.S.C. § 1407. 9 Transferee courts may consider the

6 Doc. 8977-2 at 8 (quoting Dr. Kessler deposition).
7 See Doc. 8977-5 at 81 (referring to Dr. Sedlacek as “the author of a 2006 study finding that
  6.3% of patients experienced irreversible alopecia with Taxotere”).
8 Doc. 9231 at 4.
9 In re Donald J. Trump Casino Sec. Litig., 7 F.3d 357, 364–68 (3rd Cir.1993), cert. denied,

  510 U.S. 1178 (1994).


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laws of multiple states and decide whether summary judgment is warranted
against certain plaintiffs. 10 Indeed, MDL courts often rule on omnibus motions
involving issues common to many cases. 11 The roughly 1400 cases at issue were
filed directly into this MDL, and the Court will treat these cases “as if they
were transferred from a judicial district sitting in the state where the case
originated.” 12 Accordingly, the law that applies in each case will be the law of
the state where the case originated, which is the state where a Plaintiff was
prescribed or administered her Taxotere treatment. 13

III.    Analysis
        This Court agrees with Plaintiffs that this Motion presents a difficult
task given that each jurisdiction has its own analysis for determining whether
a manufacturer had a duty to warn. For example, as Sanofi highlights in its
chart setting forth these laws, D.C. holds a manufacturer liable for any injury
that was “foreseeable,”        14   whereas New Hampshire law considers what


10 See In re TMJ Implants Prods. Liab. Litig., 872 F. Supp. 1019, 1024 (D. Minn. 1995)
  (explaining that the transferor court “has considered the law of each of the states that would
  apply in the individual actions” in products liability MDL and entering summary judgment
  in two defendants’ favor).
11 In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig., 227 F.

  Supp. 3d 452, 490 (D.S.C. 2017).
12 In re Depuy Orthopaedics, Inc., 870 F.3d 345, 348 (5th Cir. 2017) (quoting In re Yasmin &

  Yaz (Drospirenone) Mktg., Sales Practices & Prods. Liab. Litig., No. 3:09–md–02100, 2011
  WL 1375011, at *6 (S.D. Ill. Apr. 12, 2011)); Wahl v. Gen. Elec. Co., 786 F.3d 491, 496 (6th
  Cir. 2015) (“[T]he weight of authority has adopted Yasmin’s rule”). See also Pretrial Order
  No. 4 (Rec. Doc. 122) (“[Direct filing] will have no impact on choice of law that otherwise
  would apply to an individual case had it been originally filed in another district court and
  transferred to this Court pursuant to 28 U.S.C. § 1407.”).
13 See Yasmin, No. 3:09–md–02100, 2011 WL 1375011, at *6 (“[T]he Court considers the

  originating state to be the state where the plaintiff purchased and was prescribed the
  subject drug”); In re Avandia Mktg., Sales Prac. & Prods. Liab. Litig., No. 3:09–md–02100,
  2012 WL 3205620, at *2 (E.D. Pa. Aug. 7, 2012) (explaining that direct-filed cases “should
  be governed by the law of the states where Plaintiffs received treatment and prescriptions
  for Avandia”).
14 Doc. 8977-4 at 3 (quoting Payne v. Soft Sheen Prod., Inc., 486 A.2d 712, 722 n.8 (D.D.C.

  1985)).


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knowledge a manufacturer “should have acquired” and what tests it “should
have     conducted.”   15   As   another    example,    Idaho     law   provides     that
manufacturers are “held to the knowledge and experience of experts in their
fields,” so the question is not merely what the seller knew but what information
was available at the time of distribution of the product. 16
        To make this task more manageable, the Court has focused on Louisiana
law for now and will defer ruling on any other jurisdictions. Under Louisiana
law, a manufacturer has a duty to update warnings as new information about
the risks of a product is discovered. 17 The statute provides as follows:
              A manufacturer of a product who, after the product
              has left his control, acquires knowledge of a
              characteristic of the product that may cause damage
              and the danger of such characteristic, or who would
              have acquired such knowledge had he acted as a
              reasonably prudent manufacturer, is liable for damage
              caused by his subsequent failure to use reasonable
              care to provide an adequate warning of such
              characteristic and its danger to users and handlers of
              the product. 18

As the Fifth Circuit has explained, the “duty to warn a particular plaintiff is
measured by the state of scientific and/or technical knowledge at the time the
product left the manufacturer’s control.” 19 The law states as follows:
              [A] manufacturer of a product shall not be liable for
              damage proximately caused by a characteristic of the
              product if the manufacturer proves that, at the time
              the product left his control, he did not know and, in
              light of then-existing reasonably available scientific

15 Id. at 6 (quoting Cheshire Med. Ctr. v. W.R. Grace & Co., 853 F. Supp. 564, 570 (D.N.H.
  1994), aff’d, 49 F.3d 26 (1st Cir. 1995)).
16 Id. (quoting Toner v. Lederle Labs., 732 P.2d 297, 307 (Idaho 1987)).
17 Stahl v. Novartis Pharm. Corp., 283 F.3d 254, 272 n.11 (5th Cir. 2002).
18 LA. REV. STAT. ANN. § 9:2800.57(C)
19 Stahl, 283 F.3d at 272 n.11.




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              and technological knowledge, could not have known of
              the characteristic that caused the damage or the
              danger of such characteristic. 20

        To defeat summary judgment on a failure to warn claim, “a plaintiff must
demonstrate specific facts in the record that a warning is inadequate.” 21 As the
Fifth Circuit has noted, “the precise question [is] not whether the defendant
failed to warn the plaintiff . . . , but rather whether the plaintiff presented
proper evidence that the [products] have potentially damage-causing
characteristics and whether the defendant failed to use ‘reasonable care to
provide an adequate warning.’” 22 A plaintiff should present evidence as to the
cause,     frequency,    severity,    or   consequence      of   any    damage-causing
characteristic. 23 “Without a proper understanding of the . . . damage-causing
characteristics, the scope of any duty to warn is unclear.” 24 A tenuous
conclusion from an expert is insufficient to create an issue of fact as to whether
the language used in a drug label was inadequate. 25
        Plaintiffs have failed to create an issue of fact regarding whether
Defendants, under Louisiana law, had a duty to warn prior to December 15,
2006. Plaintiffs’ own expert testified that Defendants’ duty arose on this date.
Dr. Kessler testified that Sanofi’s duty to warn arose “not later than about 2009
and probably as early as around 2006.” 26 According to Dr. Kessler, Dr.



20 LA. REV. STAT. ANN. § 9:2800.59(B).
21 Guillory v. Pellerin, No. 2:07 CV 1683, 2009 WL 922474, at *4 (W.D. La. March 31, 2009)
  (citing Stahl, 283 F.3d at 264).
22 Id. (citing Grenier v. Med. Eng’g Corp., 243 F.3d 200, 205 (5th Cir.2001)).
23 See id. See also Grenier, 243 F.3d at 205.
24 See Guillory, 2009 WL 922474, at *4. See also Grenier, 243 F.3d at 205.
25 Stahl, 283 F.3d 254 at 271–72 (rejecting expert testimony on label instructions, finding

  testimony equivocal, ill-supported, and “simply insufficient to preclude summary judgment”
  on failure to warn claim).
26 Doc. 8977-2 at 8.




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Sedlacek’s presentation on December 15, 2006 is “a pretty good cutoff.” 27 On
this date, Dr. Sedlacek was able to show a statistically significant association
between Taxotere and permanent alopecia, and after this, according to Dr.
Kessler, “the bells should be going off” for Sanofi. 28
        Plaintiffs’ main argument is that Dr. Kessler’s testimony was case
specific and should not be considered in connection with this Motion. Plaintiffs
write that “Dr. Kessler has never offered an opinion for any Plaintiff in this
MDL who was administered Taxotere before December 15, 2006.” 29 These
assertions fall flat. For months now, the parties and this Court have discussed
the filing of this “fencepost” (or omnibus) motion. The parties agreed on the
briefing schedule. Plaintiffs had ample time and opportunity to identify and
present expert evidence disputing the damaging testimony from Dr. Kessler.
Yet Plaintiffs failed to do so.
        Plaintiffs point to scant evidence to rebut Dr. Kessler’s opinion on the
extent of Sanofi’s knowledge, an issue on which Plaintiffs carry the burden of
proof. Notably, Plaintiffs do not present the Court with additional expert
evidence. Plaintiffs aver that their expert, Dr. David Madigan, analyzed
certain data from Sanofi’s clinical trials and noticed increases in the rates of
permanent alopecia in 2004 and 2005, but the Court was unable to locate the
cited expert report in the record. In search of a stronger, more specific opinion,
the Court studied Dr. Madigan’s report from the September trial of Barbara
Earnest. The Court found only his tenuous conclusion that “adequate
statistical evidence supporting a causal association between Taxotere
(docetaxel) and permanent/irreversible alopecia was available to Sanofi several


27 Id.
28 See id.
29 Doc. 9231 at 1.




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years earlier [than 2015].”       30   Rather than provide the Court with an
unequivocal expert opinion that creates an issue of fact on the scope of
Defendants’ duty to warn, Plaintiffs point the Court only to equivocal evidence
in the record, all of which leaves the Court guessing.
        Plaintiffs emphasize that Sanofi internally discussed Dr. Sedlacek’s
research, but Plaintiffs fail to show that these communications occurred before
December 15, 2006. Instead, Plaintiffs state that they occurred “around the
time of [Dr. Sedlacek’s] publication.” 31 The Court reviewed the documents at
issue and was unable to identify the date that the communications were
transmitted.     32   Even if the communications occurred before Sedlacek’s
presentation, the Court is not convinced that the communications alone
establish knowledge under Louisiana law. In the email Plaintiffs cite, the
Sanofi representative does not delve into the specifics of Sedlacek’s research.
The email reports that Sedlacek is no longer using a certain regimen and that
“[t]he excuse of permanent alopecia is a concern of his.” 33 The representative
does not give credit to Sedlacek’s findings but instead states that “[S]edlacek
even mentioned that he had limited experience in that area.” 34 Without more,
this correspondence is not enough to rebut Dr. Kessler’s testimony.
        Plaintiffs argue that other evidence shows Sanofi’s knowledge before
2006. Plaintiffs aver that Sanofi received the same information upon which Dr.
Sedlacek based his research. Plaintiffs explain that Sanofi received “Adverse
Event Reports” from Dr. Sedlacek’s nurse in July and October 2005. Without
expert evidence, however, the Court cannot say that a reasonably prudent


30 Doc. 6144-1 (p. 20).
31 Doc. 9231 at 6.
32 See Doc. 9231-38.
33 Doc. 9231.
34 Id.



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manufacturer should have drawn certain conclusions from this data and
effectively acquired knowledge that Taxotere is causing permanent hair loss.
Indeed, Dr. Sedlacek himself narrowly qualified his findings, reporting only
that “when docetaxel is administered after 4 doses of AC, there is a small but
significant possibility of poor hair regrowth lasting up to 7 years.” 35
         Plaintiffs point to other reports that Sanofi received from Dr. John
Mackey. Plaintiffs aver that Dr. Mackey reported at least fifteen cases of
permanent hair loss between 2003 and 2004. Plaintiffs, however, admit, that
the exact number of patients Dr. Mackey considered is unknown. 36 Plaintiffs
also do not establish whether alternative causes of hair loss were considered
with respect to these fifteen cases. For example, the Court is unclear on how
many rounds of chemotherapy these patients received. The Court is also
unclear on whether these patients received Taxotere to treat metastatic breast
cancer or whether these patients received Taxotere in the adjuvant setting.
Without more context, the Court cannot make such a leap to say that these
fifteen reports should have led Sanofi to conclude that Taxotere was causing
permanent hair loss. The Court further notes that Plaintiffs point only to
reports from Dr. Sedlacek and Dr. Mackey, but there is no evidence of how
many doctors were prescribing Taxotere during the years at issue.
         Ultimately, Plaintiffs have failed to come forward with reliable evidence
that clarifies or disputes Dr. Kessler’s testimony. Considering Louisiana law,
Plaintiffs have not created an issue of fact on whether a reasonably prudent
manufacturer would have drawn certain conclusions before December 15,
2006, thereby triggering Sanofi’s duty to warn. Therefore, the Court concludes
that summary judgment is warranted under Louisiana law.


35   Doc. 9231.
36   Doc. 9231 at 11.

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      For the other jurisdictions at issue, the parties are instructed to jointly
submit to the Court a chart that groups jurisdictions by use of the same
language in defining the standard for “knowledge.” The Court will then
consider the submission and issue rulings as to each group of jurisdictions. If
any further briefing is necessary, the Court will alert the parties.



                                CONCLUSION

      For the foregoing reasons, the Motion for Summary Judgment on the
Claims of Plaintiffs Whose Taxotere Treatment Started Before December 15,
2006 (Doc. 8977) is GRANTED IN PART and DEFERRED IN PART. The
parties should jointly submit to the Court a list of the Louisiana cases that can
be dismissed pursuant to this order;
      IT IS FURTHER ORDERED that the parties should jointly submit to
the Court the chart described herein no later June 19, 2020.
      New Orleans, Louisiana this 1st day of June, 2020.




                                        JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE




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